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                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )            CASE NO. 8:04CR264
                                            )
                  Plaintiff,                )
                                            )
     vs.                                    )                  JUDGMENT
                                            )
                                            )
CARLOS A. CAMARGO-SANCHEZ,                  )
                                            )
                  Defendant.                )

     In accordance with the Memorandum and Order filed on this date,

     IT IS ORDERED:

     1.    Defendant’s “Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside or Correct

           Sentence by a person in Federal Custody” (Filing No. 87) is summarily

           dismissed; and

     2.    The Clerk is directed to mail a copy of this Memorandum and Order to the

           Defendant at his last known address.


     DATED this 16th day of November, 2005.

                                                BY THE COURT:


                                                s/Laurie Smith Camp
                                                United States District Judge
